Case 1:09-Cv-00597-LI\/|B-TCB Document 38-20 Filed 10/23/09 Page 1 of 2 Page|D# 647

EXHIBIT S

ease 1:09-cv-00597-LMB-TCB Documem 33-20 Filed 10/23/09 Page 2 of 2 PaanB# lea§l

Roth, Melissa R.

From: Dicl<inson, lV|ichel|e J.

Sent: Thursday, October 22, 2009 12:15 PiV|
To: Roth` N|e|issa R.

Cc: Cramer, Vanessa

Subject: FW: Loomis

From: Dicl<inson, Michel|e J.

Sent: Thursday, October 22, 2009 12:13 PM

To: 'Isabel M Hurnphrey',' 'Randy ¥avitz‘; 'Candess Hunter'
Subject: Loomis

Counse|;

As a follow-up to our letter dated October 21, 2009, please confirm your availability for a meet and confer
telephone conference today at 1:00 EST. We will call you.
Nliche||e

1002/2009

